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IN THE UNITED sTATEs DISTRICT cOURT _ _¢
FoR THE wEsTERN DIsTRICT oF TENNESSEE U\"J :a: »'1»
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DERWIN THOMAS ,
Petitioner,
vs. No. 04-2231~B/V

JACK MORGAN ,

Respondent.

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ORDER REITERATING DENIAL OF CER'I'IFICATE OF APPEALABILITY
AND
CERTIFICATION THAT IS APPEAL NOT TAKEN IN GOOD FAITH

 

On April 18, 2005, Petitioner, Derwin Thomas, Tennessee
Department of Corrections (TDOC) inmate number 286493, an inmate
at the Brushy Mountain State Penitentiary (BMSP), in Petros,
Tennessee, filed a notice of appeal from this Court’s order entered
on April 4, 2005, which dismissed his petition under 28 U.S.C. §
2254, denied a certificate of appealability, and certified that any
appeal would not be taken in good faith. Judgment was entered on
April 6, 2005.

The notice of appeal contains a one sentence request for a
certificate of appealability which raises no grounds justifying
reconsideration of the previous denial of a certificate of

appealability. The Court reiterates its previous holding denying

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a certificate of appealability and certifying any appeal as not
taken in good faith. Pursuant to Fed. R. App. P. 22(b) and 24(5),
Thomas must make any further requests for a certificate of
appealability to the Sixth Circuit Court of Appeals.

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IT Is so oRDERED this Z(¢» cf Aprii, 2005.

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.n IEL BREEN \
UNIT D sTATEs DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:04-CV-02231 Was distributed by faX, mail, or direct printing on
Apri129, 2005 to the parties listed.

 

 

DerWin Thomas

Brushy Mountain State Penitentiary
286493

P.O. BOX 1000

Petros, TN 37845--100

Honorable J. Breen
US DISTRICT COURT

